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 1   GIRARD SHARP LLP
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 9   Counsel for Plaintiffs M.M. and N.N.

10
11                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
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14   M.M. and N.N.,                                   Case No. 4:24-cv-06307-JST
15               Plaintiffs,                          NOTICE OF VOLUNTARY DISMISSAL OF
16                                                    CLAIMS BROUGHT BY PLAINTIFFS
     v.                                               PURSUANT TO FED. RULE CIV. P. 41(a)
17
                                                      Judge: Hon. Jon S. Tigar
18   COOPERSURGICAL, INC.; THE COOPER
19   COMPANIES, INC.; and DOES 1-10, inclusive,

20               Defendants.
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 1          PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),
 2   Plaintiffs M.M. and N.N. hereby voluntarily dismiss their claims without prejudice. Defendants have not
 3   served an answer or motion for summary judgment and Plaintiffs have not previously dismissed any
 4   federal or state-court action based on the same claim.
 5
 6   Dated: January 14, 2025                              Respectfully submitted,
 7                                                        /s/ Dena C. Sharp
 8                                                        Dena C. Sharp (State Bar No. 245869)
                                                          Adam E. Polk (State Bar No. 273000)
 9                                                        Nina R. Gliozzo (State Bar No. 333569)
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16                                                        Counsel for Plaintiffs M.M. and N.N.

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 1                                     CERTIFICATE OF SERVICE
 2          I hereby certify that on January 14, 2025 I electronically filed the foregoing document with the
 3   Clerk of the Court using the CM/ECF system, which will automatically send notification of the filing
 4   to all counsel of record.
 5
 6                                                      /s/ Dena C. Sharp
                                                        Dena C. Sharp
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                               CASE NO. 4:24-cv-06307-JST
